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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY

   MAHMOUD KHALIL,                                       Civ. Act. No. 25-cv-1963

                                           Petitioner,

           v.

   WILLIAM P. JOYCE, et al.,

                                       Respondents.

                                  NOTICE OF APPEARANCE

     TO:         Melissa E. Roads, Esq. Clerk

         NOTICE is hereby given of the below attorney appearing on behalf of the Respondents in

  the above captioned matter.
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  Dated: March 26, 2025

                                    Respectfully submitted,

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                                    s/ August E. Flentje
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                                  CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing filing was served on counsel of

  record via this Court’s CM/ECF system on March 26, 2025.


                                                s/ August E. Flentje
                                                AUGUST E. FLENTJE
                                                Acting Director
